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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:16CR3082
      vs.
                                                                 ORDER
SELSTAR HEIR-LEIF,
                    Defendant.

      Defendant has moved to continue Defendant’s change of plea hearing. (Filing No.
30). As explained by counsel, Defense counsel cannot attend the hearing at the currently
scheduled date and time The motion to continue is unopposed. Based on the
representations of counsel, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (Filing No. 30), is granted.

      2)     Defendant's plea hearing will be held before the undersigned magistrate
             judge on December 21, 2016 at 2:30 p.m.. Defendant is ordered to appear at
             this hearing.

      3)     For the reasons stated by counsel, the Court finds that the ends of justice
             served by continuing Defendant's plea hearing outweigh the best interest of
             Defendant and the public in a speedy trial. Accordingly, the time between
             today's date and the district court judge's acceptance or rejection of the
             anticipated plea of guilty shall be excluded for speedy trial calculation
             purposes. 18 U.S.C. § 3161(h)(7). Failing to timely object to this order as
             provided under this court’s local rules will be deemed a waiver of any right
             to later claim the time should not have been excluded under the Speedy
             Trial Act.

      December 9, 2016.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
